Civil Action No. 5:21-cv-704
                   Case 5:21-cv-00704-FB Document 1-5 Filed 07/23/21 Page 1 of 14
         NO: 27058
     REC NO:
     REC     27058
                                           County, Texas
                                      Frio County,
                                      Frio         Texas
                                                             Clerk
                                 Oﬁlia M . Trevino, District Clerk
                                 Oﬁlia
                                         5 0 0 East
                                         500   East S a n Antonio
                                                     San              Box 8
                                                                  St. Box
                                                          Antonio 8!.
                                                        Texas 78061
                                             Pearsall. Texas
                                             Pearsall,        78061
                                                (830) 334-8073
                                                (830) 334-8073

            DATE 13/08/2021
            DATE 2 06/08/2021                                                            TIME : 01:20pm
                                                                                         TIME   01:20pm

            YOUR CASHIER
                 CASHIER WAS:
                         WAS: SSALAZAR
                              SSALAZAR                                                   REGISTER
                                                                                         REGISTER NO
                                                                                                  NO :: 5

            RECVD FROM:
            RECVD       CARLOS BOLIVAR
                  FROM: CARLOS BOLIVAR


         ITEM
         ITEM DESCRIPTION
              DESCRIPTION           GFE
                                    GFE NO.
                                        NO. CLERKICAUSE
                                            CLERK/CAUSE NO.
                                                        NO.                    QTY
                                                                               QTY                    FEES
                                                                                                      FEES PAID
                                                                                                           PAID

   COPIES
   COPIES                                           21-06-001846VF
                                                    21-06-001 84CVF              13                           13.00
                                                                                                            $ 13.00
                                                            TOTAL
                                                            TOTAL FEES
                                                                  FEES PAID
                                                                       PAID                                 $ 13.00
                                                                                                              13.00


                                                                   - mmmm -- AMOUNT TENDERED---—------—
                                                                             AMOUNT TENDERED

                                                               CASH
                                                               CASH RECEIVED
                                                                     RECEIVED                                $ 0.00
                                                               CHECKS
                                                               CHECKS RECEIVED
                                                                       RECEIVED                              $ 0.00
                                                                                                               0.00
                                                               CC RECEIVED
                                                               CC RECEIVED                                    13.00
                                                                                                            $ 13.00
                                                               TIME SERVED
                                                               TIME SERVED                                   $ 0.00
                                                                                                               0.00
                                                               WAIVED FEES
                                                               WAIVED  FEES                                  $ 0.00
                                                                                                               0.00
                                                               DEPOSITORY DEBIT
                                                                           DEBIT                             $ 0.00
                                                                                                               0.00
                                                               DIRECT DEPOSIT
                                                               DIRECT DEPOSIT                                $ 0.00
                                                                                                               0.00

                                                                       TOTAL RECEIVED
                                                                       TOTAL RECEIVED                         13.00
                                                                                                            3 13.00
                                                                                                            $

                                                                   - mmmm
                                                                   -—--—-     TRANSACTION
                                                                              TRANSACTION SUMMARY
                                                                                          SUMMARY ----—--—-

                                                               TOTAL RECEIVED
                                                                     RECEIVED                               $ 13.00
                                                                                                              13.00
                                                               TOTAL FEES
                                                                     FEES PAID
                                                                          PAID                              $ 13.00
                                                                                                              13.00
                                                                          CHANGE
                                                                          CHANGE DUE BACK
                                                                                 DUE BACK                    5
                                                                                                             $ 0.00


                                                                   ----—-        CARD AUTHORIZATION
                                                                          CREDIT CARD
                                                                   ————- CREDIT       AUTHORIZATION -------

                                                                      AUTH # 100222400999
                                                                      AUTH   100222400999         $ 13.00
                                                                                                    13.00

         NO. 27058
     REC NO.
     REC           CLOSED
             27058 CLOSED
                                                                                Thank
                                                                                Thank you
                                                                                      you
                                                                              ﬂM/l/TM
                                                                                District Clerk
                                                                                         Clerk




                                                           C
                   Case 5:21-cv-00704-FB Document 1-5 Filed 07/23/21 Page 2 of 14


                         OFFICE                        OF       DISTRICT                   CLERK
                                                   ST., No. 8
                                500 E. SAN ANTONIO ST.,                              PEARSALL. TEXAS 78061




OFILIA     TREVINO
       M. TREVINO
OFILIA ll.
  DISTRICT CLERK




                  STATE O
                        OFF TEXAS
                         O F FRIO
                  COUNTY OF


                             OF ILIA M.
                          1, OFILIA      TREVINO, Clerk of
                                     M . TREVINO,          o f The District Court     Frio County, Texas, Hereby
                                                                                  o f Frio
                                                                            Court of
                  Certify That The
                  Certify                                  A Full,
                                          And Foregoing Is A
                               The Within And                 Full, True, And Correct Copy/Copies of
                                                                    True, And                      of

                                                  PLAINTIFFS’ ORIGINAL PETITION
                                                                       PETITION

                           It Appears on File
                        As It            File In                           In Cause No. 21-06-00184CVF,
                                              In My Ofﬁce Among The Papers In
                  JOE
                  JOE LEWIS   GONZALEZ      AND   ROSA  E. FLORES-GONZALEZ                   EYE VIEW
                                                                                 VS. BIRDS EYE
                  TRUCKING, LLC AND ROY DAVID BIRDSONG III.
                  TRUCKING,                                       III.



                          GIVEN UNDER
                          GIVEN          HAND And the Seal
                                UNDER MY HAND                                       Ofﬁce In Pearsall,
                                                                  Said Courts at My Ofﬁce
                                                      Seal of The Said
                                 8"I Of June,
                  Texas This The 8‘h          2021.
                                        June, 2021.


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                                                /.-»
                                                /'-"




                                                                                               Deputy
          «W‘I‘C     I   ‘III
                                             3W
                                             m                         3.9”v
                                                                       3~Q*/\‘N’                        Clerk
                                                                                               Deputy Clerk




    PHONE:
    PHONE: (830)334-8073
           (830) 334-8073                      EMAIL: districtclerk@friocounty.org
                                                      districtclerk@friocounty.org       FAX: (830)
                                                                                              (830) 334-0047
                                                                                                    334-0047
                 (830) 334-2154
                 (830) 334-2154 #7
                                #7
        Case 5:21-cv-00704-FB Document 1-5 Filed 07/23/21 Page 3 of 14    6’2/20215:04 PM
                                                                    Filed 5/2/2021
                                                                                               Tmino
                                                                                     onus M. Trevino
                                                                                     Oﬁlia
                                                                                     District Clerk
                                                                                              cm
                                                                                    Frlo County.
                                                                                    Frio County. Texas
                                                                                                 Texas
                                                                                         Lupe Esqulvel
                                                                                              Esquivel
                                        46-001 840W
                                     21 416-001MCVF
                     N0.
               CAUSE NO.

          GONZALEZ and
JOE LEWIS GONZALEZ                       §                   IN THE DISTRICT COURT
                                                                             COURT
ROSA E. FLORES-GONZALEZ                  §
                                         {5
           Plainhjfs,
           Plaintijj‘s,                  §
                                         §
                                         ‘5
VS.                                      §§                         IUDICIAL DISTRICT
                                                                    JUDICIAL DISTRICT
                                         §
               TRUCKING, LLC.
BIRDS EYE VIEW TRUCKING,                 §
and ROY DAVID BIRDSONG III               §§                                    ._ A
           Defendants.                    §                      FRIO COUNTY,
                                                                      COUNTY, TEXAS
                                                                              TEXAS


                           PLAINTIFFS’ ORIGINAL PETITION


IOTHEHONORABLE
TO                     AND IURY OF THECOURT:
   THE HONORABLE JUDGE ANDIURY     THECOURT:

       NOW COME JOE
                JOE LEWIS GONZALEZ,
                          GONZALEZ, hereinafter
                                    hereinafter ”GONZAL
                                                ”GONZAL                  ", and ROSA E.

                 hereinafter ”FLORES-GONZALEZ”,
FLORES-GONZALEZ, hereinafter
FLORES—GONZALEZ,                                sometimes collectively
                             ”FLORES-GONZALEZ”, sometimes

referred                         ﬁle this
               ”Plaintiffs”, and file
referred to as ”Plaintiffs",                                       complaining of BIRDS EYE
                                           their Original Petition complaining
                                      this their

VIEW TRUCKING,
VIEW                 hereinafter referred
               LLC., hereinafter
     TRUCKING, LLC.,                            ”BIRDS EYE” and its employees,
                                 referred to as “BIRDS

partners,
partners, drivers, agents and/or
          drivers, agents        representatives, including
                          and/or representatives, including ROY DAVID BIRDSONG
                                                            ROY DAVID BIRDSONG III,

hereinafter
hereinafter referred to as ”BIRDSONG",
            referred to    ”BIRDSONG”, sometimes
                                       sometimes collectively
                                                 collectively referred
                                                              referred to as
                                                                          as

”Defendants” and for numerous causes of action as hereinafter
"Defendants”                                                  stated, would
                                                  hereinafter stated,

respectfuﬂy  show, as follows:
respectfully show,    follows:

                                  I.
                                  I. DISCOVERY LEVEL

1.1    Discovery                          conducted under Level 3 pursuant to the
       Discovery in this matter should be conducted

Texas Rules of Civil Procedure.                                                              w........ ,~
                                                                                     ”a.




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                                                                                             :3“    OF F3,5‘\I\
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                                                                                                 u . ....
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                                        II. PARTIES

2.1             JOE LEWIS GONZALEZ
      Plaintiff IOE                        is an individual                   Eagle Pass,
                                                              and resident of Eagle Pass,

         County, Texas.
Maverick County,
Maverick         Texas.

2.2
2.2             ROSA E. FLORES-GONZALEZ
      Plaintiff ROSA                          individual and resident
                        FLORES-GONZALEZ is an individual                 Eagle Pass,
                                                             resident of Eagle Pass,

         County, Texas.
Maverick County,
Maverick

2.3                                            is a foreign corporation who
       Defendant BIRDS EYE VIEW TRUCKING, LLC. is

                                                                             effectuated
          conducts business in the State of Texas. Service of process may be effectuated
regularly conducts

                                 its registered agent: Cantrece Reed,
                         through its
           said business through
by serving said                                                       2801Manhattan
                                                                Reed,2801 Manhattan

          1073, Harvey,
    Unite 1073,
St, Unite
St,                        70059 or wherever
                Harvey, LA 70059                may be
                                    wherever he may    found.
                                                    be found.

2.4                 DAVID BIRDSONG III is an individual and resident of New
      Defendant ROY DAVID

                        County, Louisiana. Service
         Orleans Parish County,
Orleans,Orleans
Orleans,                                   Service of process may be effectuated by
                                                                     effectuated by»

serving Defendant
serving              1651 Lafreniere
        Defendant at 1651 Laﬁeniere  St, New
                                     St,              Louisiana 70122
                                             Orleans,Louisiana
                                         New Orleans,                 o r wherever
                                                                70122 or  wherever he

may be found.

                            111.               VENUE
                                 MSDICI‘IONand VENUE
                            In. MBLSDICTION
3.]
3.]   Venue is
      Venue    proper pursuant
            is proper          to Section
                      pursuant to         15.002(a)(1) of
                                  Section 15.002(a)(1) of the Texas Civil
                                                          the Texas       Practice 8:
                                                                    Civil Practice

                 that all or aa substantial part
Remedies Code in that                                             omissions giving rise to
                                            part of the events or omissions

            claims occurred in Frio County,
Plaintiffs’ claims                          Texas.
                                    County,Texas.

3.2        Court has
      This Court           jurisdiction      Defendants because
                                        over Defendants
                           jurisdiction over                           said Defendants
                                                                            Defendants
                                                                                                                 “
                                                                                                                 m




                                                               activities in the State of
purposefully availed themselves of the privilege of conducting activities
                                                                                                                  m
                                                                                     ”




Texas and established minimum contacts
Texas                                  sufﬁcient to confer jurisdiction over said
                              contacts sufficient
                                                                                                   .w- “mummy“
                                                                                                   N,.....u.....,“~

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                                                                                                       9x
                                                                                                       “a.
                                                                                                                      a;
                                                                                         ,
                                                                                     ,




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                                                                                     x   ‘k,                    £5"
                                                                                                                {5'
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Defendants and the assumption         of jurisdiction
                                         jurisdiction over Defendants
                                                           Defendants will not
                                                                           not offend

traditional
traditional notions                  substantial justice
            notions of fair play and substantial justice and is consistent
                                                                consistent with the

constitutional requirements of due process.
constitutional

3.3    Plaintiffs
       Plaintiffs would show
                        show Defendants
                             Defendants had continuous
                                            continuous and
                                                       and systematic
                                                           systematic contacts
                                                                      contacts with

             Texassufﬁcient
    State of Texas
the State          sufficient to establish         jurisdiction over said Defendants.
                                           general jurisdiction
                                 establish general

3.4    Furthermore,
       Furthermore, Plaintiffs
                    Plaintiffs would
                               would        show
                                            show     Defendants    engaged
                                                                   engaged        activities
                                                                               in activities

constituting
constituting business in the State    Texas as
                             State of Texas as provided by Section
                                                           Section 17.042 of the Texas
                                                                                 Texas

Civil Practice and
               and Remedies Code,
                            Code, in that                              tort in whole
                                     that said Defendants committed aa tort    whole or

in part
   part in Texas and recruits
                     recruits or has recruited Texas residents
                                                     residents for employment’inside
                                                                   employmehfwinside or

outside
outside this state.
             state. Furthermore,
                    Furthermore, Defendants
                                 Defendants have derived benefits, advantages
                                                                   advantages and/or
                                                                              and/or

economic
economic proﬁts           State of Texas. Additionally,
         profits from the State           Additionally, Defendants
                                                        Defendants regularly conduct
                                                                             conduct

business
business in the
            the State of Texas; thereby
                                thereby intending
                                        intending to serve
                                                     serve the
                                                           the Texas
                                                               Texas market.
                                                                     market.


3.5
35     Plaintiffs seek
       Plaintiffs seek monetary
                       monetary relief over
                                relief      $1,000,000.00.
                                       over $1,000,000.00.

                                IV. NATURE
                                IV. NATURE OF
                                           OF CAUSE
                                              CAUSE

4.}
4.1    Plaintiffs
       Plaintiffs bring this          action to recover
                        this cause of action    recover damages
                                                        damages for
                                                                for personal
                                                                    personal injuries, and
                                                                                       and

other
other damages sustained
              sustained by them
                           them and arising out of aa motor
                                and arising           motor vehicle collision, occurring

on or
on    about August
   or about            2019 in or around Frio County,
            August 27, 2019                   County,Texas.
                                                      Texas.
                                                                                                                     '0!

                                         v.
                                         V. FACTS
                                            FACTS                                                  ..3.g:\gounr
                                                                                                           “M"org;
                                                                                                    s5?            s:
5.1
5.1 Plaintiffs, GONZALEZ
                GONZALEZ and FLORES-GONZALEZ, were
                                              were lawfully traveling ;'\\ . - ‘
                                                   lawfully traveling
                                                                                                          2%» s;       ‘3}!
                                                                                                                     S
                                                                                                                      J‘
                                                                                                       \omunﬁ"
                                                                                        "




                                                                                                              ||||
                                                                                                       N
                                                                                        .
                                                                                        .




southbound
southbound on
           on Interstate
              Interstate 35. GONZALEZ was operating his vehicle in aa lawful and
                                      was operating                          and
                                                                                        .
                                                                                        i
                                                                                        m
                                                                                        -
                                                                                        c




                                                                                              .mﬂl 0r
                                                                                        a




                                                                                            :‘ﬁaﬁimgﬁsb
                                                                                        “
                                                                                        I:




                                                                                                       T' ,
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                                                                                                   m
                                                              care for the safety of
                                reasonable levels of ordinary care
prudent manner while exercising reasonable

                                         conﬁned to travel on Interstate 35 when
himself and his surroundings. Plaintiffs conﬁned                                 they were
                                                                            when they were

                                      tractor-trailer, operated by Defedant
suddenly and unexpectedly struck by a tractor~trailer,             Defedant BIRDSONG,

             partner, vice-principal, driver and/or
an employee, partner,                               agent of Defendant BIRDS EYE.
                                             and/or agent

                          against creating
         took precautions against
GONZALEZ took                                                    injury to other
                                  creating unreasonable risks of injury    othgp




                                                                                                   m
persons          any potential
           evade any
persons to evade               collision(s). However, BIRDSONG
                     potenﬁal collision(s).           BIRDSONG struck Plaintiffs’ vehicle
                                                               struck Plaintiffs’ vehicle


                     quarter panel when he made
               right quarter
with his front right                                           change. Immediately
                                           made an unsafe lane change.

upon impact,
upon                                                       towards Defendant BIRDSONG’S
                                 rotated left and directly towards
     impact, Plaintiffs’ vehicle rotated

          route. Both vehicles cample to aa complete halt
projected route.
projected                                                 upon the roadway’s
                                                     halt upon     roadway’s shoulder. A

                                       human activity. Here, Defendants’
general duty of care is imposed on all human
general                                                      Defendants’ duty of care

                reasonably foreseeable plaintiffs, GONZALEZ and FLORES-GONZALEZ
extended to all reasonably

          Defendants’ negligence was aa proximate cause of the collision. Defendant
included. Defendants’
included.                                                                 Defendant




                                                                                                    1
BIRDSONG          his duty
         breached his
BIRDSONG breached                  owerd towards
                              care owerd
                      duty of care               Plaintiffs. In particular,
                                         towards Plaintiffs.                BIRDSONG
                                                                particular, BIRDSONG

                                             imprudent and reckless manner.
operated the tractor-trailer in an careless, imprudent
operated                                                            manner. Defendant

                   exercise reasonable
         failed to exercise
BIRDSONG failed                        care by
                            reasonable care    making an unsafe
                                            by making                change and
                                                         unsafe lane change

                          Plaintiffs’ vehicle. Because of Defendants’
consequently slammed into Plaintiffs’                     Defendants’ negligence,

Plaintiffs sustained serious
Plaintiffs                                                   persons.
                                 permanent injuries to their persons.
                     serious and permanent

                                            SUPERIOR
                              VI. RESPONDEATSUPERIOR                                           ,gxmma,»
                                                                                               momma, 6
                                                                                                   Q»;
                                                                                                       \ﬂ.‘




                                                                                             5.?
                                                                                             Eng
                                                                                                       ;




6.1   At the time of the collision described herein, Defendant BIRDSONG was the agent, \ ¥
                                                                                agent,it¥
                                                                                                               ‘
                                                                                                       1‘2‘!




                                                          within the course
driver, servant and/or employee of BIRDS EYE while acting within     course and scope
          Case 5:21-cv-00704-FB Document 1-5 Filed 07/23/21 Page 7 of 14




                        agent, driver,
       employment as an agent,
of his employment              dn'ver, servant and/or employee of BIRDS EYE.
                                       servant and/or

                                     tractor—trailer with the knowledge,
                       operating the tractor-trailer
                   was operating
Defendant BIRDSONG was                                                   consent and
                                                              knowledge, consent

actual permission and/or implied permission of Defendant BIRDS EYE. Accordingly,

                                      joint and severally liable
Defendants BIRDS EYE and BIRDSONG are joint
Defendants                                                                  Plaintiffs
                                                                 for all of Plaintiff's
                                                          liable for

                                         Superior since the negligence of BIRDS EYE’s
                              Respondeat Superior
damages under the Doctrine of Respondent

employees, agents and/or representatives were aa proximate cause
                                                           cause of the damages and

injuries described herein.
injuries

                                         VH-
                                         VH-
                                               MI
                                               ALENI

7.1          addition to and Without
          In addition                waiving the foregoing,
                             without waiving                           would show
                                                 foregoing, Plaintiffs would      that at the
                                                                             show that

time in     incident mentioned
        the incident
     of the          mentioned herein, Defendant BIRDSONG
                               herein, Defendant          was an
                                                 BIRDSONG was               agent of
                                                                 authorized agent
                                                              an authorized       of

Defendant BIRDS EYE and was
                        was acting within                                     and/or
                                   within the course and scope of his implied and/or

                          agent. Therefore,
express authority as such agent.                                 and BIRDSONG are
                                 Therefore, Defendants BIRDS EYE and

joint                      for Plaintiffs damages arising under the Doctrine of Respondent
joint and severally liable for                                                  Respondent

Superior.
Superior .

                        VIII.[ONT-VENTURE!
                        VIII. OINT-VENTUREIOINT-ENTERPRISE
                                           OINT-ENTERPRISE

8.1               times mentioned herein,
           At all times                                                    joint-venture
                                  herein, the Defendants were engaged in a joint-ventm'e

              that Defendants’
enterprise in that             employees, partners,
                   Defendants’ employees, partners, drivers, representatives and/or agents

                                                                 Both BIRDS EYE and
                 further the business of BIRDS EYE individually. Both
were in route to further

                               tractor-trailer at the time
                control of the tractor-trailer
BIRDSONG shared control                               time of the incident described            ................




herein.                                          tractor-trailer and BIRD SONG by
            BIRDSONG by physically operating the tractor-trailer
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                       travel by directing the former as to the route and times to be
planning its course of travel
planning

                           their mutual enterprise. Among other
followed in furtherance of their
followed                                                        things, BIRDS EYE and
                                                          other things,           and

         had an agreement
BIRDSONG had                                        question (i.e., BlRDSONG’s trip
                agreement regarding the endeavor in question

   August 27, 2019; aa common
on August              common business,             pecuniary interest in the enterprise
                                                and pecuniary
                              business, purpose and

altogether). Hence,
altogether).        Defendants are joint and
             Hence,Defendants                                 for Plaintiffs
                                         and severally liable for            damages.
                                                                  Plaintiffs damages.

                               IX. NEGLIGENCE (BIRDSONG)
                                              (EIRDSONG)

9.1    Plaintiffs would show that on
                        show that        occasion in question,
                                  on the occasion              Defendant BIRDSONG was
                                                     question, Defendant          was

                     acts and
negligent in various acts     omissions, including but not limited
                          and omissions,                                  following, said
                                                           limited to the following,

negligence being aa proximate cause of the collision in question:               t
                                                                                ‘-

      1. In failing to keep aa proper lookout
      1.                                      for Plaintiffs;
                                      lookout for

         In operating
      2. In                                                          speed;
            operating the tractor-trailer at an unsafe and excessive speed;

         In failing to control
      3. In                        speed;
                       control his speed;

      4. In
         In operating
            operating the tractor trailer in aa manner which posed aa danger to the traveling
                          tractor trailer                                           traveling
         public;
         public;

         In failing to maintain and/or
      5. In                                                      tractor-trailer Defendant
                                        control the speed of the tractor-trailer
                                and/or control                                   Defendant
         was driving as a
         was              a reasonable                      would have done
                            reasonable and prudent driver would            done under the
         same or similar circumstances;
         same

      6. In failing to properly operate the tractor-trailer
         In failing                                            order to avoid the collision in
                                            tractor-trailer in order
         question;
         question;


      7. In failing to take evasive
      7.                              action             avoid the collision;
                                      action in order to avoid


                                       control of his tractor-trailer;
         In failing to maintain proper control
      8. In

      9. In                                m an exhausted
         In operating the tractor-trailer' in              and un—alert physical and
                                                exhausted and                    and mental”
                                                                                     mental“ﬁg  coma;4"”
                                                                                              genome,
         state of being,
         state    being, knowing          was unsafe to
                                  that it was
                         knowing that                   do so.                            fé‘
                                                                                         55$    g¥ 1E %
                                                                                                      60}
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                                                                                                 "“..~ mum
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                                            against the rules and
           In operating the tractor-trailer against
       10. In                                                     regulations of the Texas
                                                              and regulations        Texas
           Department    Public Safety;
           Department of Public Safety;

                         timely apply the brakes
           In failing to timely
       11. In                                                            and
                                                        tractor-trailer;and
                                          brakes to the tractor-trailer;

                                             and wanton
       12. In driving the vehicle in willful and                                    persons or
                                                 wanton disregard for the safety of persons
                       violation
           property in violation of Texas  Transportation
                                           Transportation Code § 545.401, VTCS.

9.2     Each and
        Ead‘l     all of the above and
              and all                            acts, both
                                   and foregoing acts,                  and commission
                                                       both of omission and

                        and were aa proximate cause
constituted negligence, and
constituted                                                            permanent injuries
                                              cause of the serious and permanent

suffered by
suffered    Plaintiffs and
         by Plaintiffs          the basis
                       and made the          this suit for
                                    basis of this          damages.
                                                       for damages.

                           X. NEQLIGENCE PER SE
                           X. NEGLIGENCE        (EIRDSONG)
                                             SE (BIRDSONG)

10.1                         show that
               would further show
     Plaintiff would
10.1 Plaintiff                                                negligent per
                                       Defendant BIRDSONG was negligent
                                  that Defendant                        per se as

   matter of law in driving his tractor-trailer
aa matter                                                                            manner:
                                tractor-trailer upon aa public street in aa reckless manner:


                      Transportation Code,
           V.T.C.A.,Transportation
        1. V.T.C.A.,
        1.                             Code, Section 545.351(b)(2) states
                                             Section 545.351(b)(2)             relevant part
                                                                    states in relevant  part
                             commits an offense if the person
                 ”A person commits
           that: "A                                                    control the speed of
                                                       person fails to control
           his vehicle as aa reasonable and
                                        and prudent person would have done under the
            same or similar
                    similar   circumstances";
                              circumstances”;   and,
                                                and,


           Transportation Code § 545.401, VTCS states:
        2. Transportation                                           commits an offense if
                                                  states: ”A person commits
           the person drives aa vehicle in willful or wanton            for the safety of
                                                      wanton disregard for
           persons or property.”
                       property.”

10.2               are among
        Plaintiffs are       those persons intended
                       among those                                  by Vernon’s
                                           intended to be protected by          Texas
                                                                       Vernon’s Texas

Civil Statutes,
Civil           Texas Transportation
      Statutes, Texas Transportation Code    545.351(b)(2), and
                                          §§ 545.351(b)(2),
                                     Code §§                and 545.401. Defendant
                                                                545.401. Defendant

         failed to comply with the provisions of said
BIRDSONG failed                                  said statutes and the violations
                                                      statutes and     violations

                              as aa matter
                      per se, as
constitute negligence per                                                          amend this
                                    matter of law. Plaintiffs reserve the right to amend
                                                                                                        “wrist-1...,
                                                                                                 .\|“‘(,0 UR Topts,"
                                                                                                “w «3
                                                                                                               ""0
                                       statutory violations.
petition upon the discovery of further statutory
petition                                         violations.                              §§°
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             XI. NNEGLIGENT
                   EGLIGENT ENTRUSTMENT
                            ENTRUS'IMENTANDl-HRING (BIRDSEYE )
                                        AND HIRING (BIRDSEYE)

11.1   In addition                                                        show that at the
          addition to and without waiving the foregoing, Plaintiffs would show

time of the incident in question,
                        question, Defendants
                                  Defendants BIRDS EYE and BIRDSONG maintained
                                                                    maintainzd

mutual control over the tractor-trailer BIRDSONG was operating.
                                                     operating. On and before
                                                                       before August

27, 2019,
    2019, Defendant BIRDS EYE was negligent in hiring,
                                               hiring, entrusting and supervising

Defendant BIRDSONG and in providing
                          providing a dangerous instalment
                                                instrument eg. the tractor-trailer, to

Defendant
Defendant BIRDSONG
          BIRDSONG for the purpose
                           purpose of operating
                                      operating same on the public
                                                            public highways,
                                                                   highways,

roadways,
roadways, and
          and streets
              streets of Texas
                         Texas in furtherance
                                  furtherance of Defendant
                                                 Defendant BIRD
                                                           BIRD EYE’s
                                                                EYE’s business
                                                                      business and
                                                                               and


proﬁts. Thereafter, Defendant
                    Defendant BIRDSONG
                              BIRDSONG operated the tractor—trailer
                                                    tractor-trailer with the full

knowledge, consent
knowledge, consent and permission Defendant BIRDS EYE. At all times herein,
                                                                    herein,

Defendant BIRDSONG was incompetent and unﬁt
                                       unfit to safely operate a tractor-trailer on

and the public
        public streets and highways
                           highways of any state or country.
                                                    country. Further,
                                                             Further, Defendant
                                                                      Defendant BIRDS

EYE knew,
    knew, or should
             should have       that Defendant BIRDSONG was an incompetent,
                    have known that                           incompetent,

reckless
reckless and an unﬁt driver
                     driver in that he would create or pose an unreasonable risk of danger

to persons
   persons and property
               property on the public
                               public streets and highways                 Texas.
                                                  highways of the State of Texas.

11.2 In addition,
11.2    addition, Defendant BIRDS EYE was negligent in various acts
                                                               acts and omissions,

                  limited to the following:
including but not limited
including

       1.     In the
              In               Defendant BIRDSONG;
                 the hiring of Defendant BIRDSONG;

       2.     In failing to properly
                            properly investigate Defendant BIRDSONGs
                                                              BIRDSONG’s driving ability,
              prior employment
              prior employment history and driving
                                             driving history;
                                                     history;
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                                                                                         If“




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          3.          In failing to properly traintrain Defendant BIRDSONG to drive BIRDS EYE’s
                                                                                          EYE’s




                                                                                                                                   ,
                      tractor-trailers
                      tractor-trailers in aa safe
                                       in    safe and  prudent manner;
                                                  and prudent  manner;


          4.                                           Defendant BIRDSONG to ensure
                                             supervise Defendant
                      In failing to properly supervise                               ensure that
                                                                                             that he
                                      Defendant BIRDS EYE’s tractor-trailers
                              operate Defendant
                      would operate                         h‘actor-h‘ailers in aa safe and prudent
                                                                                            prudent
                      manner;

          5.              failing to make aa prudent
                      In failing                     inquiry into the driving
                                             prudent inquiry                  competency of
                                                                      driving competency
                      Defendant BIRDSONG;
                      Defendant   BIRDSONG;

          6.             entrusting the vehicle driven
                      In entrusting                       Defendant BIRDSONG on the occasion in
                                                driven by Defendant
                      question      that BIRDSONG was
                      question in that                         unskilled, incompetent
                                                       was an unskilled,  incompetent and reckless
                                                                                             reckless
                      driver,
                      driver, of which BIRDS EYE knew or   or through the                       care,
                                                                       the exercise of ordinary care,
                      should have known; and
                      should

          7.             allowing Defendant
                      In allowing                          tractor-trailer to have been operated
                                  Defendant BIRDS EYE’s tractor-trailer                 operated on
                                                                                                  on
                                       question by an individual, i.e.,
                      the occasion in question                      i.e., BIRDSONG, who
                                                                                      who was    not
                                                                                            was not
                               qualiﬁed to operate
                      properly qualified   operate such tractor-trailer;
                                                   such tractor-trailer;




                                                                                                                                   5
        '' EEaacchh
 11.3                 and all of the above           acts, constituted
                                           foregoing acts,
                                     above foregoing                   negligence and were a
                                                           constituted negligence

               proximate cause of the collision and
  contributing proximate
- contributing                                      damages made
                                                and damages                   this suit.
                                                            made the basis of this suit.

                                  XII. PERSONAL
                                       PEﬁONAL INIQRY
                                                INIQEY DAMAGES

 12.1 Plaintiffs, GONZALEZ and FLORES-GONZALEZ,
 12.1 Plaintiffs,              FLOREscGONZALEZ, would
                                                would show that as aa
                                                      show that

 proximate cause
 proximate cause of Defendants’
                    Defendants' neglignce, they have
                                                have suffered serious and permanent
                                                                          permanent

 injuries to their persons. Plaintiffs
             their persons. Plaintiffs will plausibly continue
                                                      continue to suffer for    extended
                                                                         for an extended
                                                                                                                                                       “




 period of time. Plaintiffs’ injuries have had aa serious effect on both
           time. Plaintiffs’                                        both their
                                                                         their health and
                                                                                                                                                       m
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 well-being. Plaintiff’s
 well-being. Plaintiff’s ill effects have,
                                     have, in turn, caused
                                                                                                                                                       m




                                                    caused them physical and mental
                                                                                                                                                       -
                                                                                                                                                       u




 conditions
 conditions to deteriorate generally so
               deteriorate generally so that
                                        that the specific
                                                 speciﬁc injuries and ill effects alleged
                                                                                                                                   .
                                                                                                                                                       n
                                                                                                                                                       “




 have
 have caused
      caused and
             and will
                 will in all reasonable
                             reasonable                 probability
                                                        probability   cause
                                                                      cause them
                                                                            them to suffer
                                                                                    suffer the
                                                                                           thew                         w"1....
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                                                              their bodies
                                such deterioration throughout their
consequences and ill effects of such                                       long into the
                                                                    bodies long

future, if not
future,                                 natural life for which the Plaintiffs hereby
                       balance of their natural
           not for the balance                                                       sue the
                                                                              hereby sue

                            Jury deems just and fair.
Defendants in an amount the Jury

12.1   Plaintiffs, GONZALEZ and FLORES-GONZALEZ,                 as a result of
                                FLORES-GONZALEZ, would show that as

    above described
the above                          have suffered:
          described injuries, they have               conscious physical
                                        suffered: (a) conscious              mental pain
                                                                physical and mental

    angujgh in the” past
and anguish                  future; (b) physical
                    past and future;              impairment in the past
                                         physical impairment                 future; (c)
                                                                    past and future;

                                                                          earning capacity
                                                 wages and a loss of wage earning
disﬁgurement in the past and future; (d) loss of wages                            capacity

                               necessary and reasonable medical
                       and,(e) necessary
in the past and future;and,                                     expenses in the past.
                                                        medical expenses        past.

                  expenses were
       These past expenses were incurred         necessary care and treatment of Plaintiffs
                                incurred for the necessary                       Plaintiffs

injuries resulting
         resulting from     incident complained
                   from the incident               herein and the charges
                                     complained of herein                 were reasonable
                                                                  charges were reasonable

and customary
and                   areas of Bexar, Frio,
                  the areas
    customarsr in the                 Frio, Val Verde, Maverick,
                                            Val Verde,                   Zavala and
                                                                 Dimmit, Zavala
                                                       Maverick, Dimmit,        and

Uvalde                   further result of the physical
       County(ies). As a further
Uvalde County(ies).                            physical injuries           by Plaintiffs,
                                                        injuries sustained by Plaintiffs,

there is a reasonable probability
                      probability that they will incur additional necessary
                                                 incur additional necessary expenses for

medical
medical care
        care and attention in the future, all for which                       sue the
                                                  which the Plaintiffs hereby sue

Defendants in an amount within the jurisdictional limits of the Court.
                                                                Court.

                           XIII.
                           XIH. RE  UEST FOR DISCLOSURE
                                 REQUEST

13.1
13.1   Pursuant
       Pursuant to Tex. R. Civ. P.
                                P. 194,
                                   194,Defendants
                                        Defendants are
                                                   are requested
                                                       requested to disclose, within ﬁfty,
                                                                    disclose, within

(50) days of service
             service of this request,the information
                                         information or
                                                     or material described
                                                                 described in Rule 194.2
                                                                                   194.2

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              XIV. PRE-l
                   PRE- QQGMENT
                           MENT AND POST-IQEMENT
                                AND POST-   MENT INIEREST
                                                 INTEREST                                         ‘‘Eounr mg,“
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14.1   Plaintiffs further allege that they are entitled
       Plaintiffs                              entitled to recover pre-judgment and post-
                                                                                    post-

                                                                                   Texas
                                       provided by Section 304.001 et. seq. of the Texas
judgment interest at the legal rate as provided

        Code, VTCS.
Finance Code,
Finance

                                         PRA_.___.YER
                                         .PR_AX_ER_L

       WHEREFORE, PREMISES CONSIDERED,                              Defendants be
                           CONSIDERED, Plaintiffs pray that all the Defendants be




                                                                                  s
                           herein, that
cited to appear and answer herein,      upon a ﬁnal
                                   that upon                  ﬁlis cause,
                                               final trial of this cause, Plaintiffs recover

judgment against Defendants,
judgment against Defendants, joint     severally, for all Plaintiffs’
                             joint and severally,                     damages as set forth
                                                          Plaintiffs’ damages




                                                                                  i
        that Plaintiffs recover pre-judgment and post-judgment interest at the legal rate,
herein; that                                                                         rate,

costs of court
costs                       other and further relief to which
         court and for such other                             Plaintiffs may be entitled
                                                        which Plaintiffs        entitled




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under equity and in law.
                    law.




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                                                              Submitted,
                                                 Respectfuny Submitted,
                                                 Respectfully

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                                                 780 Rio Grande St.
                                                       Pass,Texas 78852
                                                 Eagle Pass,       78852
                                                 Telephone: 830.776.7003
                                                 Tele         830.776.7004
                                                         ier: 830.776.7004
                                                                      /
                                                                      /
                                                 By:    “A.   “(Aev
                                                 By:    “J“   “Mew:
                                                 Alfonso Nevérez
                                                 Alfonso Nevérez C .
                                                 State Bar N
                                                 State     No.   24005376
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                                                 anca‘mevarezlawgroupcom
                                                 anc@nevarezlawgroup_.com
                                                 Mariliza V . Williams
                                                 State B a r No.
                                                 State Bar         24084651
                                                             N o . 24084651
                                                 mvw@nevarezlawgroup.com


                                                 ATTORNEYS FOR PLAINTIFF
                                                               PLAINTIFF
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                                     I g RY DEMAND
                                     [QRY   DEMAND
       NOW COME Plaintiffs in the above-styled and numbered cause
       NOW                                                                           all
                                                                     cause and with all
                  trial by aa fair and impartial Court
respect request a trial
respect                                          Court and      as is guaranteed by the
                                                       and Jury as
United
United   States of America
         States    America           State of Texas Constitutions.
                             and the State          Constitutions.
                                                          [Q
                                                          Q          she
                                                                     my?w/g
                                                                       Nevérez C.
                                                               Alfonso Nevérez
                                                               Alfonso




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